 Case 1:16-cv-01396-GJQ-RSK ECF No. 17 filed 05/30/17 PageID.52 Page 1 of 1




            UNITED STATES DISTRICT COURT
        FOR THE WESTERN DISTRICT OF MICHIGAN
                 SOUTHERN DIVISION


JULIE ALBERTS,

            Plaintiff,              Case No. 1:16-cv-1396

v.

ENERSON LAW, LLC,                   HON. GORDON J. QUIST

              Defendant.


  JOINT STIPULATION FOR DISMISSAL WITH PREJUDICE

     Now come the parties, by and through their undersigned counsel,
who hereby stipulate to the dismissal of this matter, with prejudice.
Each party shall bear its own fees and costs.

DATED: May 11, 2017

Respectfully Submitted,
                                     /s/ Mark Linton
 /s/ B. Thomas Golden
____________________________       ________________________________
B. Thomas Golden (P70822)          Mark Linton (P66503)
GOLDEN LAW OFFICES, P.C.           RAUSCH, STURM, ISRAEL,
Attorney for Plaintiff             ENERSON & HORNIK, Of
2816 W. Main Street                Counsel to ENERSON LAW,
P.O. Box 9                         PLLC, Attorneys for Defendant
Lowell, Michigan 49331             30150 Telegraph Rd., Ste. 444
(616) 897-2900                     Bingham Farms, Michigan 48025
                                   (262) 796-6997
